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10
                          UNITED STATES DISTRICT COURT
11
                        NORTHERN DISTRICT OF CALIFORNIA
12
                              SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)        Master File No. CV-07-5944-SC
14   ANTITRUST LITIGATION
                                          MDL No. 1917
15
                                          [PROPOSED] ORDER GRANTING
16                                        MOTION OF INDIRECT-PURCHASER
                                          PLAINTIFFS FOR CLASS CERTIFICATION
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       [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
                  CERTIFICATION — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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 1          Upon consideration of the Motion of Indirect-Purchaser Plaintiffs for Class Certification,

 2   and the materials filed and submitted herewith, and defendants’ opposition thereto, the Court

 3   ORDERS as follows:

 4          1.      The Motion of Indirect-Purchaser Plaintiffs for Class Certification is hereby

 5   GRANTED, and the following state classes (the “Indirect-Purchaser Statewide Classes”) are

 6   hereby certified for damages pursuant to Federal Rule of Civil Procedure 23(a) and 23 (b)(3):

 7          ARIZONA:

 8          All persons and entities in Arizona who, from March 1, 1995 to November
            25, 2007, as residents of Arizona, purchased Cathode Ray Tubes
 9          incorporated in televisions and monitors in Arizona indirectly from any
            defendant or subsidiary thereof, or any named affiliate or any named co-
10          conspirator, for their own use and not for resale. Specifically excluded
            from this Class are defendants; the officers, directors, or employees of any
11          defendant; the parent companies and subsidiaries of any defendant; the
            legal representatives and heirs or assigns of any defendant; and the named
12          affiliates and co-conspirators. Also excluded are any federal, state, or local
            governmental entities, any judicial officers presiding over this action,
13          members of their immediate families and judicial staffs, and any juror
            assigned to this action. (The “Arizona Indirect-Purchaser Class.”)
14
            CALIFORNIA:
15
            All persons and entities in California who, from March 1, 1995 to
16          November 25, 2007, as residents of California, purchased Cathode Ray
            Tubes incorporated in televisions and monitors in California indirectly
17          from any defendant or subsidiary thereof, or any named affiliate or any
            named co-conspirator, for their own use and not for resale. Specifically
18          excluded from this Class are defendants; the officers, directors, or
            employees of any defendant; the parent companies and subsidiaries of any
19          defendant; the legal representatives and heirs or assigns of any defendant;
            and the named affiliates and co-conspirators. Also excluded are any
20          federal, state, or local governmental entities, any judicial officers presiding
            over this action, members of their immediate families and judicial staffs,
21          and any juror assigned to this action. (The “California Indirect-Purchaser
            Class.”)
22
            DISTRICT OF COLUMBIA:
23
            All persons and entities in the District of Columbia who, from March 1,
24          1995 to November 25, 2007, as residents of the District of Columbia,
            purchased Cathode Ray Tubes incorporated in televisions and monitors in
25          the District of Columbia indirectly from any defendant or subsidiary
            thereof, or any named affiliate or any named co-conspirator, for their own
26          use and not for resale. Specifically excluded from this Class are
            defendants; the officers, directors, or employees of any defendant; the
27          parent companies and subsidiaries of any defendant; the legal
            representatives and heirs or assigns of any defendant; and the named
28          affiliates and co-conspirators. Also excluded are any federal, state, or local
                                                       2
        [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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         governmental entities, any judicial officers presiding over this action,
 1       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “D.C. Indirect-Purchaser Class.”)
 2
         FLORIDA:
 3
         All persons and entities in Florida who, from March 1, 1995 to November
 4       25, 2007, as residents of Florida, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Florida indirectly from any
 5       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
 6       from this Class are defendants; the officers, directors, or employees of any
         defendant; the parent companies and subsidiaries of any defendant; the
 7       legal representatives and heirs or assigns of any defendant; and the named
         affiliates and co-conspirators. Also excluded are any federal, state, or local
 8       governmental entities, any judicial officers presiding over this action,
         members of their immediate families and judicial staffs, and any juror
 9       assigned to this action. (The “Florida Indirect-Purchaser Class.”)
10       HAWAII:

11       All persons and entities in Hawaii who, from June 25, 2002 to November
         25, 2007, as residents of Hawaii, purchased Cathode Ray Tubes
12       incorporated in televisions and monitors in Hawaii indirectly from any
         defendant or subsidiary thereof, or any named affiliate or any named co-
13       conspirator, for their own use and not for resale. Specifically excluded from
         this Class are defendants; the officers, directors, or employees of any
14       defendant; the parent companies and subsidiaries of any defendant; the
         legal representatives and heirs or assigns of any defendant; and the named
15       affiliates and co-conspirators. Also excluded are any federal, state, or local
         governmental entities, any judicial officers presiding over this action,
16       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “Hawaii Indirect-Purchaser Class.”)
17
         IOWA:
18
         All persons and entities in Iowa who, from March 1, 1995 to November 25,
19       2007, as residents of Iowa, purchased Cathode Ray Tubes incorporated in
         televisions and monitors in Iowa indirectly from any defendant or
20       subsidiary thereof, or any named affiliate or any named co-conspirator, for
         their own use and not for resale. Specifically excluded from this Class are
21       defendants; the officers, directors, or employees of any defendant; the
         parent companies and subsidiaries of any defendant; the legal
22       representatives and heirs or assigns of any defendant; and the named
         affiliates and co-conspirators. Also excluded are any federal, state, or local
23       governmental entities, any judicial officers presiding over this action,
         members of their immediate families and judicial staffs, and any juror
24       assigned to this action. (The “Iowa Indirect-Purchaser Class.”)
25       KANSAS:

26       All persons and entities in Kansas who, from March 1, 1995 to November
         25, 2007, as residents of Kansas, purchased Cathode Ray Tubes
27       incorporated in televisions and monitors in Kansas indirectly from any
         defendant or subsidiary thereof, or any named affiliate or any named co-
28       conspirator, for their own use and not for resale. Specifically excluded
                                                  3
      [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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         from this Class are defendants; the officers, directors, or employees of any
 1       defendant; the parent companies and subsidiaries of any defendant; the
         legal representatives and heirs or assigns of any defendant; and the named
 2       affiliates and co-conspirators. Also excluded are any federal, state, or local
         governmental entities, any judicial officers presiding over this action,
 3       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “Kansas Indirect-Purchaser Class.”)
 4
         MAINE:
 5
         All persons and entities in Maine who, from March 1, 1995 to November
 6       25, 2007, as residents of Maine, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Maine indirectly from any
 7       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
 8       from this Class are defendants; the officers, directors, or employees of any
         defendant; the parent companies and subsidiaries of any defendant; the
 9       legal representatives and heirs or assigns of any defendant; and the named
         affiliates and co-conspirators. Also excluded are any federal, state, or local
10       governmental entities, any judicial officers presiding over this action,
         members of their immediate families and judicial staffs, and any juror
11       assigned to this action. Also excluded are any federal, state, or local
         governmental entities, any judicial officers presiding over this action,
12       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “Maine Indirect-Purchaser Class.”)
13
         MICHIGAN:
14
         All persons and entities in Michigan who, from March 1, 1995 to
15       November 25, 2007, as residents of Michigan, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Michigan indirectly from
16       any defendant or subsidiary thereof, or any named affiliate or any named
         co-conspirator, for their own use and not for resale. Specifically excluded
17       from this Class are defendants; the officers, directors, or employees of any
         defendant; the parent companies and subsidiaries of any defendant; the
18       legal representatives and heirs or assigns of any defendant; and the named
         affiliates and co-conspirators. Also excluded are any federal, state, or local
19       governmental entities, any judicial officers presiding over this action,
         members of their immediate families and judicial staffs, and any juror
20       assigned to this action. (The “Michigan Indirect-Purchaser Class.”)
21       MINNESOTA:

22       All persons and entities in Minnesota who, from March 1, 1995 to
         November 25, 2007, as residents of Minnesota, purchased Cathode Ray
23       Tubes incorporated in televisions and monitors in Minnesota indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
24       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
25       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
26       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
27       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “Minnesota Indirect-Purchaser
28       Class.”)
                                                   4
      [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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 1       MISSISSIPPI:

 2       All persons and entities in Mississippi who, from March 1, 1995 to
         November 25, 2007, as residents of Mississippi, purchased Cathode Ray
 3       Tubes incorporated in televisions and monitors in Mississippi indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
 4       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
 5       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
 6       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
 7       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “Mississippi Indirect-Purchaser
 8       Class.”)
 9       NEBRASKA:

10       All persons and entities in Nebraska who, from July 20, 2002 to November
         25, 2007, as residents of Nebraska, purchased Cathode Ray Tubes
11       incorporated in televisions and monitors in Nebraska indirectly from any
         defendant or subsidiary thereof, or any named affiliate or any named co-
12       conspirator, for their own use and not for resale. Specifically excluded
         from this Class are defendants; the officers, directors, or employees of any
13       defendant; the parent companies and subsidiaries of any defendant; the
         legal representatives and heirs or assigns of any defendant; and the named
14       affiliates and co-conspirators. Also excluded are any federal, state, or local
         governmental entities, any judicial officers presiding over this action,
15       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “Nebraska Indirect-Purchaser Class.”)
16
         NEVADA:
17
         All persons and entities in Nevada who, from February 4, 1999 to
18       November 25, 2007, as residents of Nevada, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Nevada indirectly from any
19       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
20       from this Class are defendants; the officers, directors, or employees of any
         defendant; the parent companies and subsidiaries of any defendant; the
21       legal representatives and heirs or assigns of any defendant; and the named
         affiliates and co-conspirators. Also excluded are any federal, state, or local
22       governmental entities, any judicial officers presiding over this action,
         members of their immediate families and judicial staffs, and any juror
23       assigned to this action. (The “Nevada Indirect-Purchaser Class.”)
24       NEW MEXICO:

25       All persons and entities in New Mexico who, from March 1, 1995 to
         November 25, 2007, as residents of New Mexico, purchased Cathode Ray
26       Tubes incorporated in televisions and monitors in New Mexico indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
27       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
28       employees of any defendant; the parent companies and subsidiaries of any
                                                 5
      [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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         defendant; the legal representatives and heirs or assigns of any defendant;
 1       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
 2       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “New Mexico Indirect-
 3       Purchaser Class.”)
 4       NEW YORK:

 5       All persons and entities in New York who, from March 1, 1995 to
         November 25, 2007, as residents of New York, purchased Cathode Ray
 6       Tubes incorporated in televisions and monitors in New York indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
 7       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
 8       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
 9       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
10       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “New York Indirect-Purchaser
11       Class.”)
12       NORTH CAROLINA:

13       All persons and entities in North Carolina who, from March 1, 1995 to
         November 25, 2007, as residents of North Carolina, purchased Cathode
14       Ray Tubes incorporated in televisions and monitors in North Carolina
         indirectly from any defendant or subsidiary thereof, or any named affiliate
15       or any named co-conspirator, for their own use and not for resale.
         Specifically excluded from this Class are defendants; the officers, directors,
16       or employees of any defendant; the parent companies and subsidiaries of
         any defendant; the legal representatives and heirs or assigns of any
17       defendant; and the named affiliates and co-conspirators. Also excluded are
         any federal, state, or local governmental entities, any judicial officers
18       presiding over this action, members of their immediate families and judicial
         staffs, and any juror assigned to this action. (The “North Carolina Indirect-
19       Purchaser Class.”)
20       NORTH DAKOTA:

21       All persons and entities in North Dakota who, from March 1, 1995 to
         November 25, 2007, as residents of North Dakota, purchased Cathode Ray
22       Tubes incorporated in televisions and monitors in North Dakota indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
23       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
24       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
25       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
26       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “North Dakota Indirect-
27       Purchaser Class.”)
28
                                                   6
      [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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 1       SOUTH DAKOTA:

 2       All persons and entities in South Dakota who, from March 1, 1995 to
         November 25, 2007, as residents of South Dakota, purchased Cathode Ray
 3       Tubes incorporated in televisions and monitors in South Dakota indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
 4       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
 5       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
 6       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
 7       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “South Dakota Indirect-
 8       Purchaser Class.”)
 9       TENNESSEE:

10       All persons and entities in Tennessee who, from March 1, 1995 to
         November 25, 2007, as residents of Tennessee, purchased Cathode Ray
11       Tubes incorporated in televisions and monitors in Tennessee indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
12       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
13       employees of any defendant; the parent companies and subsidiaries of any
         defendant; the legal representatives and heirs or assigns of any defendant;
14       and the named affiliates and co-conspirators. Also excluded are any
         federal, state, or local governmental entities, any judicial officers presiding
15       over this action, members of their immediate families and judicial staffs,
         and any juror assigned to this action. (The “Tennessee Indirect-Purchaser
16       Class.”)
17       VERMONT:

18       All persons and entities in Vermont who, from March 1, 1995 to November
         25, 2007, as residents of Vermont, purchased Cathode Ray Tubes
19       incorporated in televisions and monitors in Vermont indirectly from any
         defendant or subsidiary thereof, or any named affiliate or any named co-
20       conspirator, for their own use and not for resale. Specifically excluded
         from this Class are defendants; the officers, directors, or employees of any
21       defendant; the parent companies and subsidiaries of any defendant; the
         legal representatives and heirs or assigns of any defendant; and the named
22       affiliates and co-conspirators. Also excluded are any federal, state, or local
         governmental entities, any judicial officers presiding over this action,
23       members of their immediate families and judicial staffs, and any juror
         assigned to this action. (The “Vermont Indirect-Purchaser Class.”)
24
         WEST VIRGINIA:
25
         All persons and entities in West Virginia who, from March 1, 1995 to
26       November 25, 2007, as residents of West Virginia, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in West Virginia indirectly
27       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
28       excluded from this Class are defendants; the officers, directors, or
                                                  7
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         employees of any defendant; the parent companies and subsidiaries of any
 1       defendant; the legal representatives and heirs or assigns of any defendant;
         and the named affiliates and co-conspirators. Also excluded are any
 2       federal, state, or local governmental entities, any judicial officers presiding
         over this action, members of their immediate families and judicial staffs,
 3       and any juror assigned to this action. (The “West Virginia Indirect-
         Purchaser Class.”)
 4
         WISCONSIN:
 5
         All persons and entities in Wisconsin who, from March 1, 1995 to
 6       November 25, 2007, as residents of Wisconsin, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Wisconsin indirectly
 7       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
 8       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of any
 9       defendant; the legal representatives and heirs or assigns of any defendant;
         and the named affiliates and co-conspirators. Also excluded are any
10       federal, state, or local governmental entities, any judicial officers presiding
         over this action, members of their immediate families and judicial staffs,
11       and any juror assigned to this action. (The “Wisconsin Indirect-Purchaser
         Class.”)
12
         The following individuals and entities are hereby named as class representatives:
13
          State                             Plaintiff
14

15        Arizona                           Brian Luscher

16        California                        Steven Ganz

17        California                        Jeffrey Figone

18        District of Columbia              Lawyer’s Choice Suites, Inc.

19        Florida                           David Rooks

20        Hawaii                            Daniel Riebow

21        Iowa                              Travis Burau

22        Kansas                            Southern Office Supply, Inc.

23        Maine                             Kerry Lee Hall

24        Michigan                          Lisa Reynolds

25        Minnesota                         Barry Kushner

26        Minnesota                         David Norby

27        Mississippi                       Charles Jenkins

28        Nebraska                          Steven Fink
                                                  8
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 1            Nevada                           Gloria Comeaux

 2            New Mexico                       Craig Stephenson

 3            New York                         Janet Ackerman

 4            New York                         Louise Wood

 5            North Carolina                   Patricia Andrews

 6            North Dakota                     Gary Hanson

 7            South Dakota                     Jeffrey Speaect

 8            Tennessee                        Frank Warner

 9            Tennessee                        Albert Sidney Crigler

10            Vermont                          Margaret Slagle

11            West Virginia                    John March

12            Wisconsin                        Brigid Terry

13          2.      Trump, Alioto, Trump & Prescott LLP is designated and appointed as Class Counsel

14   for Indirect-Purchaser Plaintiffs.

15          3.      As soon as practicable after the entry of this Order, all parties shall meet and confer

16   to develop a plan for dissemination of notice to the Class.

17   IT IS SO RECOMMENDED.
18

19   Dated: _________________, 2013
                                                   Hon. Charles A. Legge
20                                                 SPECIAL MASTER

21
     IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.
22

23   Dated: _________________, 2013
                                                   Hon. Samuel A. Conti
24                                                 UNITED STATES DISTRICT JUDGE
     3237850v2
25

26

27

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                                                      9
         [PROPOSED] ORDER GRANTING MOTION OF INDIRECT-PURCHASER PLAINTIFFS FOR CLASS
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